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                       IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                  NO. 4:14CR00191-15 JLH

LOUIS MICHAEL TICHELI                                                                DEFENDANT

                                             ORDER

       Court convened on Wednesday, September 28, 2016, to resume the hearing on the pending

motion to revoke the supervised release of defendant Louis Michael Ticheli. Assistant United States

Attorney Kristin Bryant was present for the government. The defendant appeared in person with

his attorney, Assistant Federal Public Defender Latrece Gray. United States Probation Officer

Dwayne Ricks was also present. The defendant had previously admitted the allegations contained

in the motion to revoke at the July 29, 2016 hearing. Following statements from counsel and the

defendant, the Court found that the motion to revoke should be DENIED without prejudice, and

instead determined that defendant’s current conditions of supervised release should be modified.

Document #751.

       IT IS THEREFORE ORDERED that defendant Louis Michael Ticheli’s conditions of

supervised release are hereby modified to include the following:

       •       The defendant must reside in the Serenity Ridge Recovery Center in Clinton,
               Arkansas, at his own cost. He must participate in and successfully complete the
               aftercare program which is offered at the facility. Upon successful completion of the
               program, the defendant may present an alternative release plan to the probation office
               for its review and approval. If the defendant fails to pay the monthly fees to the
               facility, or is terminated from the program for any reason, it will be considered a
               violation of his supervised release.

All other conditions of supervised release remain in full force and effect as previously imposed.

       IT IS SO ORDERED this 28th day of September, 2016.

                                                      __________________________________
                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
